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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

 Idell Dearry and Penny Green, individually and on
 behalf of all others similarly situated,
            Plaintiffs,                                     Civil Action No.
                      v.
 Soaren Management, LLC, Kraken Holdings,
 LLC, Andrew Dunn, Joshua Bickerstaff,
                                                            Class Action
 FactorTrust, Inc., John Doe Debt Collectors
            Defendants.                                     Jury Trial Demanded

                                     CLASS ACTION COMPLAINT
        Plaintiffs Idell Dearry and Penny Green, by and through their attorneys, on behalf of

themselves and the Class defined below, allege the following based on the research of counsel,

publicly available articles, reports, and other sources, a reasonable inquiry under the circumstances,

and upon information and belief, except for those allegations that pertain to Plaintiffs, which are

based on their personal knowledge.

  I.    INTRODUCTION
        1.          Plaintiffs on their own behalf and on behalf of a proposed class of victimized

consumers brings this action against Defendants and other associated, as yet unknown, persons.

These entities are being sued for their knowing participation in an illegal “payday lending” enterprise

that operated over the Internet under the name of “Clarity Finance,” 1 and an associated debt

collection scheme that has persisted after the original enterprise ceased operations. Plaintiffs assert

damage claims under the Racketeering Influenced Corrupt Organizations Act (“RICO”), 18 U.S.C.

§§ 1961–1968, and under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.. §§ 1692a-p.

        2.          Plaintiffs and the consumers in the putative classes were victimized by unlicensed

short-term loan products that were sold with crushing interest rates and were targeted at low-income


        1
          By using the term “payday lending,” Plaintiffs are not referencing a technically precise or
statutory term, but rather are generically referencing the high-rate small loan products that appear
through the course of any internet search for “fast” or “easy” cash loans.
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individuals with high credit risk. These loans were sold over the internet and were promised to

provide funds within a day of applying. Although this form of consumer credit is illegal under the

usury law of Pennsylvania and most other states, well-lawyered, highly-organized schemes to evade

such legal restrictions have proliferated.

        3.       One of the most common forms of these illegal schemes has been so-called “tribal

lending” schemes. In such a scheme, otherwise known as “rent-a-tribe,” an lender recruits a Native

American tribe to establish a tribal business entity to function as the nominal, originating lender in

order to create a tribal veneer for the business. The revenues of the business flow principally to the
nontribal actors that market, underwrite, and collect the loans. The illicit lender uses the veneer of

tribal participation to abuse the legal doctrine of tribal sovereign immunity in an effort to insulate

the usurious schemes from state regulatory authority. These schemes principally operate over the

internet, meaning that victims sign up for these loans on their computer devices throughout the

United States, that is, far from the Native American reservations where such activity purports to be

taking place.

        4.       “Clarity Finance” was one of these lending websites. It was purportedly operated by

a Native American tribe in Maine, but for all practical purposes it was in fact controlled by and for

the profit of Defendants Soaren Management and Kraken Holdings, and other nontribal persons

and companies located elsewhere. Plaintiffs and the members of the putative class were Clarity

Finance borrowers.

        5.       Like other lending enterprises, tribal lending enterprises rely on a variety of services,

some provided in-house and some outsourced, as essential elements of their business models. These

services might include call centers, debt servicing, lead generation, and credit reporting. Such

schemes also rely on entities to collect and/or purchase past-due debt, which often makes up a

significant portion of a tribal lending portfolio due to the onerous, usurious terms of the loans.

        6.       Plaintiff Dearry was ensnared into a 511% APR loan from Clarity Finance and paid

usurious interest charges back to Clarity Finance, most of which ended up as revenue to Soaren

Management and Kraken Holdings.


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          7.       Plaintiff Green had a 407% APR payday loan from Clarity. In her case, nonpayment

of the loan resulted in deceptive and abusive debt collection by Defendants or by an entity likely

associated with Soaren Management and Kraken Holdings but whose identity has been deliberately

hidden. Ms. Green incurred actual damages in the form of hundreds of dollars of payments to this

entity.

          8.       The two Plaintiffs are filing this class action on behalf of all Clarity Finance

borrowers. They are seeking treble damages under RICO and actual damages under the FDCPA, as

well as attorney’s fees and costs, for all payments made on these illegal loans.

 II.      THE PARTIES
          A. Plaintiffs
          9.       Plaintiff Idell Dearry is a natural person over the age of 18 who resides in

Philadelphia, PA.

          10.      Plaintiff Penny Green is a natural person over the age of 18 who resides in Troy, PA.
          B. Defendants
          11.      Soaren Management, LLC, is a limited liability company incorporated in Delaware

with offices at 4045 Spencer St, Suite 312, Las Vegas, Nevada 89119 and 7020 E Acoma Dr,

Scottsdale, Arizona 85254.

          12.      Kraken Holdings, LLC is purportedly a limited liability company with offices at

20830 N Tatum Blvd. #115, Phoenix, AZ, 85050. Kraken Holdings, LLC is registered as the

manager of Soaren Management, LLC, with the Nevada Secretary of State, but it is not registered to

do business in the state of Arizona or in the state of Nevada. As the manager of Soaren

Management, LLC, Kraken Holdings, LLC is responsible for the operations of Soaren Management,

LLC.

          13.      Andrew Dunn is the Chief Executive Officer of Soaren Management, LLC, and has

been in this position for the entire time period contemplated by the Complaint. Upon information

and belief, he resides in or around Phoenix, Arizona.




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       14.     Joshua Bickerstaff is the Chief Operating Officer of Soaren Management, LLC, and

has been in this position for the entire time period contemplated by the Complaint. Upon

information and belief, he resides in or around Phoenix, Arizona.

       15.     Hereafter, Defendants Soren Management, Kraken Holdings, Dunn, and Bickerstaff

will be referred to collectively as “the Soeren Defendants.”

       16.     FactorTrust, Inc. is a credit reporting agency incorporated in Delaware with its

headquarters at 695 Mansell Rd #200, Roswell, Georgia 30076. It is a subsidiary of TransUnion,

Inc., a publicly owned company incorporated in Delaware with headquarters in Chicago, Illinois.
       17.     Also named is a John Doe Defendant, whose identity is being deliberatively hidden,

that is engaged in collection activity either on behalf of the Soaren Defendants or as assignee of

Clarity Finance.
       C. Non-Defendant Interested Parties
       18.     The Passamaquoddy Tribe of Indian Township is a federally-recognized American

Indian tribe located in Indian Township, Maine.

       19.     Pine Tree Lending LLC, d/b/a Clarity Finance is business entity purportedly

established by the Passamaquoddy Tribe for the purpose of engaging in online consumer lending.

III.   JURISDICTION AND VENUE
       20.     This Court has subject matter jurisdiction over this dispute pursuant to RICO, 18

U.S.C. § 1965, and pursuant to the FDCPA, 15 U.S.C. § 1692k. This Court also has federal question

jurisdiction under 28 U.S.C. § 1331, jurisdiction under the Class Action Fairness Act, 28 U.S.C. §

1332(d)(2), and supplemental jurisdiction over all state law claims as part of the same case or

controversy under 28 U.S.C. § 1367.

       21.     This Court has personal jurisdiction over Defendants because their activities that

give rise to the claims in this action have been directed at and in the Commonwealth of

Pennsylvania, conducted both directly and through their agents or alter egos. This Court also has

personal jurisdiction over Defendants under 18 U.S. C. § 1965(b).




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        22.     Venue is proper in this Court pursuant to 18 U.S.C. § 1965. Venue is also proper in

this Court pursuant to 28 U.S.C. § 1391(b) as Plaintiffs are residents of this District and a substantial

part of Plaintiffs’ claims occurred in Pennsylvania.

IV.     FACTUAL ALLEGATIONS
        A. Usury and Licensing Laws Generally
        23.     Usury laws prohibit lenders from charging borrowers excessively high rates of

interest on loans. These laws have ancient origins, as usury prohibitions have been part of every

major religious tradition. As Pope Francis has recently put it, “Usury humiliates and kills. Usury is a

grave sin. It kills life, stomps on human dignity, promotes corruption, and sets up obstacles to the

common good.” 2 In the United States, every colony adopted a usury statute based on the English
model. 3 This trend continued after independence, with state usury laws protecting consumers from

abusive lending.

        24.     In addition to general usury laws, most states have adopted small-loan statutes that

allow specifically defined, small-amount loans at higher rates, conditioned on the lender obtaining a

license and complying with the restrictions contained in the statute. For example, Pennsylvania has a

small-loan statute that allows licensees to earn approximately 27% APR on a regulated loan that

complies with statutory restrictions. See Consumer Discount Company Act, 7 P.S. § 6201 et seq.

Unlicensed lenders are limited by the state’s general usury law, 41 P.S. § 201, which caps their

lending rate at 6% for unsecured loans in amounts less than $50,000. See Pennsylvania Dep't of Banking

v. NCAS of Delaware, LLC, 596 Pa. 638, 948 A.2d 752 (2008).

        25.     Almost all other state jurisdictions treat as illegal unlicensed small loans like those

involved here. See, e.g., Alabama (Ala. Code § 5-18-4); Alaska (Alaska Stat. § 06.20.310); Arizona

(Ariz. Rev. Stat. § 6-613(B)); Arkansas (Ark. Code §§ 4-57-104, 105); California (Cal. Fin. Code §§

        2
          See Pope Francis: “Usury humiliates and kills,” Vatican News (Feb. 3, 2018),
https://www.vaticannews.va/en/pope/news/2018-02/pope-francis-usury-financial-
exploitation.html
        3
          See Christopher L. Peterson, Usury Law, Payday Loans, and Statutory Sleight of Hand: Salience
Distortion in American Credit Pricing Limits, 92 Minn. L. Rev. 1110, 1117 (2008).


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22303, 22750); Colorado (Colo. Rev. Stat. § 5-2-201); Connecticut (Conn. Gen. Stat. § 36a-573;

District of Columbia (D.C. Code §§ 26-905, 28-3303); Florida (Fla. Stat. § 516.02); Georgia (Ga.

Code § 7-3-50); Hawaii (Haw. Rev. Stat. § 478-4); Idaho (Idaho Code § 28-46-402); Illinois (815 Ill.

Comp. Stat. 122/4-10); Indiana (Ind. Code § 24-4.5-5-202); Iowa (Iowa Code § 536.13); Kansas

(Kan. Stat. § 16a-5-201); Kentucky (Ky. Rev. Stat. § 286.4-991); Louisiana (La. Stat. § 9:3552); Maine

(Me. Rev. Stat. tit. 9-A, § 2-201); Maryland (Md. Code, Com. Law § 12-314); Massachusetts (Mass.

Gen. Laws ch. 140, § 119); Michigan (Mich. Comp. Laws §§ 438.32, 445.1854); Minnesota (Minn.

Stat. §§ 56.19, 334.02); Mississippi (Miss. Code. § 75-67-119); Missouri (Mo. Stat. § 408.020);
Montana (Mont. Code § 31-1-108); Nebraska (Neb. Rev. Stat. § 45-1038); New Hampshire (N.H.

Rev. Stat. § 399-A:23); New Jersey (N.J. Stat. §§ 31:1-1, 17:11C-32, 33); New Mexico (N.M. Stat. §

58-15-3); New York (N.Y. Gen. Oblig. Law §§ 5-501, 511, 513); North Carolina (N.C. Gen. Stat. §§

24-2, 53-166); North Dakota (N.D. Cent. Code § 13-04.1-09.2); Ohio (Ohio Rev. Code § 1321.02);

Oklahoma (14A Okla. Stat. §§ 3-201); Oregon (Or. Rev. Stat. § 725.045); Pennsylvania (41 P.S. §§

501-502); Rhode Island (6 R.I. Gen. Laws § 6-26-4); South Carolina (S.C. Code § 34-29-140); South

Dakota (S.D. Cod. Laws § 54-4-44); Tennessee (Tenn. Code §§ 47-14-110, 117); Texas (Tx. Fin. §§

302.001-004); Vermont (Vt. Stat. tit. 9, § 50); Virginia (Va. Code § 6.2-303); Washington (Wash. Rev.

Code § 19.52.020); West Virginia (W. Va. Code §§ 46A-5-101); Wisconsin (Wis. Stat. § 138.14); and

Wyoming (Wyo. Stat. § 40-14-521).

       26.     Usury and licensing laws are vital public policy tools that state legislatures use to

protect consumers in their states from the predatory conduct of high-APR small-loan lenders. The

short-term, high-interest loans that usury laws regulate are targeted at the most economically

vulnerable. 4 The CFPB has recognized that these products create cycles of high-cost borrowing over

extended periods of time, where consumers must take out additional payday loans to cover the costs




       4
         See Mikella Hurley & Julius Adebayo, Credit Scoring in the Era of Big Data, 18 Yale J. L. &
Tech. 148, 174 (2016) (on the use of “alternative” credit-scores and lead generation for payday loan
vendors targeted at poor and minority communities).


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of the prior loans at risk of punitive fees and are so caught in a “debt trap.” 5 States use many policy

tools to limit the proliferation of such loans. The most common tools, and the ones pertinent to this

lawsuit, include limits on the maximum interest rates that can be charged and licensing requirements

on charging higher rates of interest.
        B. Usury Law Avoidance Schemes
        27.     To avoid the statutory licensing and interest rate caps imposed by states across the

country, lenders have taken advantage of two perceived loopholes in federal law: federal bank

preemption doctrine and tribal sovereign immunity.

        28.     The first model under which payday lenders attempted to evade state usury laws was

widely referred to as the “rent-a-bank” model. Under this model, a payday lender who is by law

prohibited from making loans in a particular state attempts to evade those legal restrictions by

partnering with an out-of-state bank that, for a fee, acts as the nominal lender while the de facto, non-

bank lender markets, funds and collects the loan, as well as most other lender functions.

        29.     Because banks are insulated from state examination and regulation by virtue of

federal bank pre-emption doctrines, many payday lenders were, for a period of time, able to operate

openly from storefronts, using these “rent-a-bank” arrangements to evade enforcement in states

where, like Pennsylvania, payday lending is illegal under state law. However, beginning in 2005, the

Federal Deposit and Insurance Corporation (hereinafter “FDIC”) began to limit its regulated banks

with regard to such “rent-a-bank” arrangements with payday lenders. See FDIC, Guidelines for

Payday Lending, FIL-14-2005.
        30.     Despite the FDIC guidance, due to the continuing profits available to banks and

payday lenders that offer high-interest, short-term loan products in states where payday lending was

formally prohibited, rent-a-bank schemes continued to proliferate in the shadows. The United States

Department of Justice (hereinafter “DOJ”) also began cracking down on “rent-a-bank” schemes

through an initiative that targeted financial intermediaries such as banks that rented their names to

       See Consumer Financial Protection Bureau, White Paper: Payday Loans and Deposit
        5

Advance Products, at 43-44 (Apr. 24, 2013).


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payday lending schemes and other financial scams. See Jessica Silver-Greenberg, Justice Department

Inquiry Takes Aim at Banks’ Business with Payday Lenders, N.Y. TIMES (Jan. 26, 2014),

https://dealbook.nytimes.com/2014/01/26/justice-dept-inquiry-takes-aim-at-banks-business-with-

payday-lenders.

        31.       Following the regulatory crackdowns on the rent-a-bank schemes led by the FDIC

and the DOJ, payday lenders in the early 2010s shifted to a new usury law avoidance model: the

“rent-a-tribe” model.

        32.       Under the rent-a-tribe model, the payday lender contracts with a Native American
tribe to originate loans in the name of a tribal entity, with that entity acting as the nominal lender.

Generally, the tribal entity retains only nominal ownership of the loans, with most of the beneficial

ownership being transferred to a non-tribal entity. In return, the tribe receives a small share of the

profits generated, while the payday lender, who extracts most of the profits as payment for

“services” provided to the lender, hides behind the tribal façade, attempting to claim the vicarious

benefit of whatever legal immunities the tribe enjoys.

        33.       For years, the use by payday lenders of tribal veneers as an artifice to evade state law

has been widely publicized. See, e.g., H.R., Committee on Financial Services, Dem. Staff Report,

“Skirting the Law: Five Tactics Payday Lenders Use to Evade State Consumer Protection Law,”

June 16, 2016, at 15 (“Renting Sovereign Immunity”); Carter Dougherty, “Payday Lenders and

Indians Evading Laws Draw Scrutiny,” Bloomberg, June 5, 2012; Jeff Guo, “Many States Have

Cracked Down on Payday Loans. Here’s How Lenders Still Get Away with It,” Washington Post,

February 9, 2015.

        34.       The Federal Government has obtained highly publicized criminal convictions under

RICO against two payday loan kingpins who used “rent-a-tribe” arrangements to attempt to evade

state usury law. On October 13, 2017, a jury in the U.S. District Court for the Southern District of

New York convicted Scott Tucker and his attorney, Timothy Muir, on all fourteen felony counts




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brought against them. United States v. Tucker, No. 1:16-cr-00091-PKC (S.D.N.Y). 6 On November 27,

2017, a jury in this District convicted Charles M. Hallinan and his attorney, Wheeler K. Neff, on

seventeen felony counts. United States v. Hallinan, No. 2:16-cr-00130-ER (E.D.Pa.). 7

        35.      Civil suits brought both as civil law enforcement actions brought by state attorneys

general and as private actions have similarly demonstrated the fragility of the sovereign immunity

defense, particularly when actions are brought against the payday lending entities that are the real

parties of interest in the “rent-a-tribe” scheme. See, e.g., Commonwealth of Pennsylvania v. Think Fin., Inc.,

14-CV-7139, 2016 WL 183289, *3-8 (E.D. Pa. Jan. 14, 2016) (tribes not indispensable parties to

state-analogous RICO action brought by the Pennsylvania attorney general against non-tribal

businesses operating a supposedly “tribal” lending enterprise); Solomon v. Am. Web Loan, 4:17CV145,

2019 WL 1320790, at *20-22 (E.D. Va. Mar. 22, 2019) (tribes not indispensable parties in private

RICO action brought for unlawful debt collection); see also Otoe-Missouria Tribe of Indians v. New York

State Dep't of Fin. Servs., 769 F.3d 105 (2d Cir. 2014) (rejecting suit brought by tribes to challenge

New York attorney general’s enforcement of state usury laws against rent-a-tribe schemes).
        C. Defendants’ Lending Activities through the Pine Tree Lending Enterprise
        36.      The payday loans at issue in this suit were offered through the Clarity Finance

website at https://www.clarityfinance.com/home.

        37.      Although the website makes numerous references to how Pine Tree Lending is
operated by the Tribe and that “[a]ll loan application decisions are made at Clarity’s office located at

8 Kennebasis Road, Indian Township, ME 04668 on the Tribe’s reservation,” a look under the hood

shows these statements to be a sham pretense.



        6
         See Press Release, United States Department of Justice, Scott Tucker and Timothy Muir
Convicted at Trial for $3.5 Billion Unlawful Internet Payday Lending Enterprise (Oct. 13, 2017)
(https://www.justice.gov/usao-sdny/pr/scott-tucker-and-timothy-muir-convicted-trial35-billion-
unlawful-internet-payday).
        See Press Release, United States Department of Justice, Two Men Found Guilty of
        7

Racketeering Conspiracy in Payday Lending Case (Nov. 27, 2017) (https://www.justice.gov/usao-
edpa/pr/two-men-found-guilty-racketeering-conspiracy-paydaylending-case).


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       38.     For instance, “chatbot” on the Clarity Finance website, which provides consumers

with immediate access to a purported customer service representative for Clarity Finance, is

operated by the Soaren Defendants. This is evident in the HTML source code of the home page,

whose chatbot script source links to https://omniflex.soarenmanagement.com/

v1/AirlineFlexCustomerIframe.js? updated=20200514-2.

       39.     The Soaren Defendants also operate the portal where borrowers manage their

account. This is evident in the HTML source code of the login page (www.clarityfinance.com/login)

where “Soaren Management” is identified in the meta data as the “author” of the login applet.

       40.     Furthermore, trying to find any evidence of the Tribe’s involvement in the lending

enterprise outside of the website and the loan agreements is a fool’s errand. A search of both the

Tribe’s own website, http://www.passamaquoddy.com/, and the Tribe’s Facebook page,

https://www.facebook.com/indtwptribe/, returns zero results for “Clarity Finance,” “Pine Tree

Lending,” “loan,” or “lending.” A search for almost all other supposed tribal entities mentioned on

the loan agreement and the Clarity website also return zero search results. Such untraceable, paper

entities include the “Tribal Financial Services Regulatory Authority,” which, according to the loan

agreements, supposedly arbitrates consumer disputes; the “Tribal Consumer Financial Services

Regulatory Authority,” which supposedly regulates consumer financial services for the Tribe

including the issuance of financial service licenses; and “Indian Township Enterprises,” which is

supposedly the economic arm of the tribe under which Pine Tree Lending is a subsidiary

corporation.

       41.     In reality, Pine Tree Lending d/b/a Clarity Finance is a “rent-a-tribe” scheme

directed and operated by the Soaren Defendants. Under this scheme, payday loans are made in the

name of a lender affiliated with the Tribe, but the Soaren Defendants, or entities with whom they

contract, provide the infrastructure to market, fund, underwrite and collect the loans. Among other

things, the Soaren Defendants produced the customer leads, managed the technology platform,

including the loan decisioning process, supplied the capital to make the loans and managed the

payment-processing and collection mechanisms used to obtain payments from consumers, and the


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debt sale of nonperforming loans. Once made, the beneficial interests in these loans are transferred

to a non-tribal entity in which, upon information and belief, the Soaren Defendants have an interest

or affiliation.

         42.      On its website, Soaren Management, LLC describes itself as “a Fintech company that

helps lenders service the complete life cycle of their short-term loans. From lead qualification to

collecting past-due payments, we can handle every human and automated contact needed to service

our clients’ financial products.” See https://www.soarenmanagement.com/about/.

         43.      Upon information and belief, the Soaren Defendants are involved in just such a full

spectrum of activities over the “complete life cycle” of loans originated on the Clarity Services

website.

         44.      In short, the lending activity that is designed to appear to be business conducted by a

Native American tribe is, in actuality, a business enterprise directed by non-tribal entities that extract

most of the generated revenue, while creating a tribal veneer designed to hide its direction of the

business. Upon information and belief, much of the revenue is likely disguised as fees for services

provided by the Soaren Defendants, and even the net earnings, after these “services” are paid for,

are, for the most part, diverted to the non-tribal purchasers of the loans.

         45.      Meanwhile, the Soaren Defendants have taken steps to actively conceal their

participation and involvement in this “rent-a-tribe” scheme. For instance, they have purchased a

website privacy service from Domains by Proxy for the web domain www.clarityfinance.com. This

service ensures that anyone attempting to identify the owner of the website will be directed to a

proxy agent instead of an actual agent of the owner, so that the Soaren Defendants cannot be

identified as the owners of the website.

         46.      Soaren Management and its CEO Andrew Dunn have been identified in other

litigation alleging similar “rent-a-tribe” schemes where it was alleged to have been the beneficial

owner of a payday lending enterprise operating behind a tribal façade, in an attempt to avoid state

usury laws. See Complaint, Beckford v. Niibin, Case No. 8:20-cv-02718, at ¶¶ 71-73 (M.D. Fla. Nov.

18, 2020).


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        47.     Joshua Bickerstaff, the COO of Soaren Management, has been involved in running

“rent-a-tribe” schemes for at least a decade. According to his LinkedIn profile, from Jan. 2011 until

Mar. 2015 he was involved in “Business Development” for Fresh Start Marketing, LLC, Atlas

Intelligence, LLC, and DesTel, LLC. Defendant Bickerstaff describes the services these entities

offered as:
        Fresh Start Marketing, LLC – a “service company for a online tribal lending
        portfolio” that was created “expressly to create and manage online and offline
        marketing campaigns to generate responsive leads in the online micro-lending
        space.”
        Atlas Intelligence, LLC – a “service company for a online tribal lending portfolio”
        that was created “with three key objectives: create and administer a dynamic
        underwriting process to accurately predict lifetime customer value and provide loan
        approval recommendations in accordance with established revenue goals, curate all
        aspects of consumer data management and business analytics, and provide company
        executives with concise reporting on portfolio performance as well create and
        implement new strategies to achieve established goals.”
        DesTel, LLC – a “service company for a online tribal lending portfolio” that was
        created “expressly to manage all call center operations associated with loan
        verification, origination, collections and direct marketing.”

        48.     Each of those limited liability companies were part of a constellation of entities

centered around Encore Services, LLC and owned and run by Zachary Roberts, Martin Mazzara,

and Richard Lee Broome that acted as true payday lending operation behind “rent-a-tribe” lending

enterprises. Fresh Start and DesTel, along with Encore and the principals, were in fact sued by a

tribal client for fraud related to a rent-a-tribe scheme. See Chippewa Cree Tribe of the Rocky Boy's

Reservation of Montana v. Roberts, CV 14-63-GF-BMM, 2015 WL 9239764 (D. Mont. Dec. 17, 2015). A

criminal prosecution followed in which Roberts, Mazarra, and Encore were convicted for the fraud,

with both individuals sentenced to prison terms. United States v. Encore Servs., LLC, GF-16-19-GF-

BMM-JTJ (D. Mont. Feb. 21, 2017). 8


        8
         See Press Release, United States Department of Justice, Las Vegas Businessmen Sentenced
to Prison in Montana Public Corruption Case (Aug. 25, 2017), https://www.justice.gov/usao-
mt/pr/las-vegas-businessmen-sentenced-prison-montana-public-corruption-case.


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           49.   Upon information and belief, Andrew Dunn and Joshua Bickerstaff, as directors of

Soaren Management, LLC, are responsible for designing, organizing, and implementing all facets of

the payday lending operation that offered usurious loans over the “Clarity Finance” website.

           50.   During the relevant time period, one of the operations centers for Soaren was at

20830 N. Tatum Blvd., Suite 115, Phoenix AZ 85050, which was also the registered address of

Defendant Kraken Holdings, LLC, Soaren’s manager.

           D. Defendant FactorTrust’s Role in the Scheme

           51.   FactorTrust is one of a handful of specialized consumer reporting agencies that
service, specifically, the subprime lender sector, including the purveyors of online payday loans.

           52.   One of the critical components of the lender functions performed by the Soaren

Defendants is the automated decisioning technology used to render rapid decisions on loan

applications made over the Clarity Finance website. This technology platform used by Soaren relies

on a nearly instantaneous credit report that is obtained seconds after the application is received.

           53.   Defendant FactorTrust was, at least for a period of time that Clarity Finance loans

were being made, the source of these credit reports. The Soaren Defendants contracted with

FactorTrust to receive automatically generated credit inquiries from the Clarity Finance website and,

in a matter of seconds, to generate a response to that inquiry, in the form of an electronic credit

report that, once transmitted back to the Soaren technology platform, triggered a decision by the

automated decisioning component of the platform.

           54.   The FactorTrust credit report was an essential element of any loan approvals that

occurred on or were connected to the Clarity Finance website that Soaren and Kraken operated;

loan approvals cannot be made without the assessment of credit risk provided by such credit

reports.

           55.   FactorTrust knew or should have known that the purpose of these Soaren

Management credit inquiries was to enable decisions on high-rate, small loans that it knew or should

have known were illegal in most states.




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       E. Plaintiffs’ Loans from Pine Tree Lending

             Plaintiff Dearry
       56.      On or about December 20, 2018, Plaintiff Dearry visited the Clarity Services website

from his device in Pennsylvania and applied for a loan, inputting his private, personal information

including his Social Security number and his bank account location and number.

       57.      Within seconds, unbeknownst to him, Soaren’s platform automatically transmitted a

credit inquiry about him to FactorTrust, which, in turn, in a matter of seconds, returned a credit

report to Soaren. He discovered this when, in response to a request for his credit file, FactorTrust

disclosed that, on December 20, 2018—i.e., the date of the Clarity Services loan—it provided a

credit report to Soaren Management LLC, at the address of 20830 N. Tatum Blvd., Suite 115,

Phoenix, AZ 85050, i.e. the registered address of Kraken Holdings, LLC.

       58.      Based on that credit report, the Soaren platform approved a loan to Mr. Dearry and,

that same day, December 20, 2018, a Clarity Finance loan was issued to him. The loan, effective

December 21, 2018, was in the amount of $1,000, with an Annual Percentage Rate of 511%, and

provided for monthly payments totaling $4,130.88, to be paid over the course of one year.

       59.      Over the course of the following three months, in accordance with an automatic

payment protocol arranged and managed by the Soaren Defendants, approximately $1,377 was

debited from his bank account via ACH transfer.
             Plaintiff Green
       60.      On or about May 3, 2018, Plaintiff Green went to the Clarity Finance website from

her device in Pennsylvania and applied for a loan, inputting her private, personal information

including her Social Security number and her bank account location and number.

       61.      Based on a credit report it obtained for her, the Soaren platform approved a loan to

Ms. Green in the amount of $1,100, and, on or about that same day, a Clarity Finance loan was

issued to her. The loan, effective May 6, 2018, was in the amount $1,100, with an Annual Percentage

Rate of 408%, and provided for $4,543.92, to be paid over the course of a year.




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        62.      On or about June 3, 2019, in accordance with an automatic payment protocol

arranged and managed by the Soaren Defendants, a first loan payment of $378.66 was automatically

withdrawn from Ms. Green’s bank account via ACH transfer.

        63.      At some point, Ms. Green managed to stop the automatic payments from her bank

account, pursuant to her rights under the Electronic Funds Transfer Act, 15 U.S.C. § 1693e.

        64.      Sometime thereafter, Ms. Green began receiving automated collection calls that

bombarded her home multiple times daily, at all hours of the day. This went on from late 2019 into

early 2021.
        65.      At first, she accepted these calls and, although she received little information about

who was calling, she made small monthly payments that, over time, added up to roughly $500. As

directed by the phone calls, she made these payments via the ACH system.

        66.      She eventually stopped these payments but has continued to receive these frequent

robocalls.

        67.      Ms. Green has no idea who is initiating these calls. Most recently, these calls have

come from the numbers 844-501-0546, 484-341-7348, and 610-708-1864.

        68.      The unknown entity that is making these constant, repetitive automated calls to Ms.

Green is deliberately trying to hide its identity in plain violation of 15 U.S.C. § 1692d(6) (requiring

“meaningful disclosure of the caller’s identity” when collecting debts). Upon information and belief,

the Clarity Finance website is no longer making loans, so this entity is likely associated with the

Soaren Defendants who are continuing to try to extract whatever they can from Plaintiff and

similarly situated “Clarity Finance” victims.
              Both Named Plaintiffs
        69.      Absent a state license to make certain kinds of regulated loans, no one may make an

unsecured loan for $50,000 or less to a resident of the Commonwealth of Pennsylvania at an annual

percentage rate greater than 6%. 41 Purdons Pa. St. § 201.




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        70.     At the time Plaintiffs Dearry and Green obtained their “Clarity Finance” loans,

neither Pine Tree Lending nor any other Defendant had obtained a consumer finance license from

the Commonwealth of Pennsylvania.

        71.     Upon information and belief, neither Pine Tree Lending nor any other Defendant

had obtained a consumer finance license from any of the other jurisdictions included in the class;

and no Defendant has ever attempted to obtain such a license in connection with loans made in the

name of Pine Tree Lending.

        72.     Under Pennsylvania law, if a lender is not exempt from the 6% interest rate cap and
has not obtained a consumer finance license, and nonetheless contracts to make a consumer loan

and charges, contracts for, or receives interest or other compensation in excess of 6% per year, then

any interest in excess of 6% per year is deemed to be null and void and the lender is not permitted

to collect on it. 41 Purdons Pa. St. §§ 501-502.

        73.     Plaintiffs’ loans were unlawful and void under Pennsylvania law. The 407.67%

interest rate charged Ms. Green was more than 67 times greater than the maximum allowable

interest rate; the 511% charged Mr. Dearry was more than 85 times the legal limit.
        F. Purported Arbitration Clauses in Plaintiffs’ Loan Agreements Are Void and
           Unenforceable
        74.     Pine Tree Lending’s purported lending agreements not only violate the usury laws or

applicable interest rate caps in the borrowers’ home state, they include unconscionable choice of law

and arbitration provisions that unlawfully seek to disclaim the application of federal and state law

and impose the law of the Tribe as the sole governing law.

        75.     The language in the form Pine Tree Lending loan agreement states the following

regarding the applicable governing law:
        GOVERNING LAW: The laws of the Tribe and applicable federal law will govern
        this Agreement, without regard to the laws of any state or other jurisdiction,
        including the conflict of laws rules of any state. You agree to be bound by Tribal law,
        and in the event of a bona fide dispute between you and us, Tribal law shall
        exclusively apply to such dispute.




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        76.     This is in addition to the second paragraph of the Pine Tree Lending loan agreement,

which simply reads: “This Agreement is governed by the laws of the Tribe.”

        77.     Through these provisions, the Pine Tree Lending loan agreement purports to

disclaim and waive federal and state rights that cannot be waived by consumers.

        78.     The Pine Tree Lending loan agreement also includes an arbitration provision which

it describes as a “TRIBAL DISPUTE RESOLUTION PROCEDURE PROVISION” (the

“Purported Arbitration Clause”). This provision purports to provide exclusive jurisdiction to the

complaints department of Clarity Finance, with additional review provided by a supposed “Tribal
Financial Services Regulatory Authority.” No other information besides an address is given for this

purported “Authority.” The address given is 8 Kennebasis Rd., Indian Township, ME, 04668. This

is the same exact address as the address given in the loan agreement for Clarity Finance itself. There

are no other indicia that the “Authority” which supposedly will arbitrate any dispute is in any way

distinct from Clarity Finance, the party against which any claim might be brought.

        79.     Determinations of that entity can supposedly be appealed to an entity called the

“Tribal Court” for which there is no further definition, address, or means to find more information

about the entity. There are no indicia that the “Tribal Court” is, as a matter of either form or

substance, distinct from the purported “Authority.”

        80.     The mechanisms described in the Purported Arbitration Clause provide no option

for third-party, neutral arbitrators that have no interest in the dispute. Indeed, in the loan agreement

Pine Tree Lending both purports to be an “economic arm of the tribe” while reserving exclusive

jurisdiction to the tribe to resolve consumer complaints. (“It is the express intention of the Tribe

and us operating as an economic arm of the Tribe, to fully preserve, and not waive either in whole

or in part, exclusive jurisdiction, sovereign governmental immunity, and any other rights, titles,

privileges, and immunities, to which we and the Tribe are entitled;” “THIS DISPUTE

RESOLUTION OPPORTUNITY IS INTENDED AS THE SOLE DISPUTE

RESOLUTION MECHANISM FOR DISPUTES AND CLAIMS ARISING UNDER THIS

LOAN AGREEMENT.” (emphasis in original)).


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        81.     Upon close examination, the Purported Arbitration Clause is more notable for what

it does not contain than for what it does contain. In addition to providing no neutral arbiter or

neutral means to appeal the decision, the Purported Arbitration Clause does not guarantee the

consumer a right to an in-person hearing, does not guarantee that any hearing that takes place will be

accessible to the consumer, and does not provide a means to opt-out of the clause.

        82.      Although “the Authority may offer the consumer an opportunity to be heard,” this

right is exclusively reserved for the “Authority” to offer. There is no reference to where the rules or

procedure of the “appellate” Tribal Court might be found, or even any indication of where the
supposed court itself sits or who comprises it.

        83.     The Purported Arbitration Clause is unconscionable and unenforceable for the same

reasons articulated by the U.S. Court of Appeals for the Third Circuit in MacDonald v. CashCall, Inc.

883 F.3d 220 (3d Cir. 2018) and by courts in the Eastern District of Pennsylvania in Smith v. Western

Sky Financial, LLC 168 F.Supp.3d 778 (E.D. Pa. 2016), and Ryan v. Delbert Servs. Corp., 5:15-CV-

05044, 2016 WL 4702352 (E.D. Pa. Sept. 8, 2016).

        84.     Specifically, the Purported Arbitration Clause is invalid because “the arbitral forum

provided for in the Loan Agreement is nonexistent.” MacDonald, 883 F.3d at 227.

        85.     Furthermore, “[a]n arbitration clause that ‘purports to renounce wholesale the

application of any federal law to [a plaintiff’s] federal claims ... is simply unenforceable.’” Ryan, 2016

WL 4702352, at *4 (quoting Hayes v. Delbert Servs. Corp., 811 F.3d 666, 673-674 (4th Cir. 2016)).

        86.     The additional indicia of substantive and procedural unconscionability including the

lack of impartial arbitrators, the lack of meaningful process of appeal, the lack of in person hearings,

the lack of a local forum, and the lack of a meaningful opportunity to opt-out of the arbitration

agreement further emphasize the extent to which the Purported Arbitration Clause is a naked and

deliberate attempt to avoid the application of federal and state law through the use of

unconscionable choice of law and arbitration provisions. The use of arbitration as a means of

circumventing the application of federal and state law, particularly in a law avoidance scheme like the

one engaged in by Defendants here, is not permitted under controlling law in this judicial circuit.


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        87.     Moreover, under controlling authority in this Circuit, no part of the unlawful

Purported Arbitration Clause may be severed to preserve the remainder of Defendants’ integrated

scheme to contravene public policy. See MacDonald, 883 F.3d at 230-232.

        88.     Plaintiffs are therefore entitled to a declaratory judgment that the governing law,

forum selection, and Purported Arbitration Clause provisions of the Pine Tree Lending loan

agreements are unenforceable in their entirety.

 V.     CLASS ALLEGATIONS
        89.     Plaintiffs bring this action on behalf of themselves and all others similarly situated
pursuant to Federal Rules of Civil Procedure Rule 23(a) and 23(b)(l), (b)(2), and (b)(3), as

representatives of the following Class:
        All persons who obtained loans from Pine Tree Lending d/b/a Clarity Finance from
        the beginning of the period commencing four years prior to the filing of this action,
        who, at the time the loan was made, were residents of any states or the District of
        Columbia, other than Nevada or Utah, and who made payments on such loans.

        90.     This action is brought, and may properly be maintained, as a class action pursuant to

Rule 23. This action satisfies the numerosity, typicality, adequacy, predominance, and superiority

requirements of those provisions. The members of the Class are readily ascertainable from records

maintained by Defendants.
        91.     Numerosity. Members of the Class are so numerous and geographically dispersed

that joinder of all members is impracticable. While the exact number of Class members is unknown

to Plaintiffs, Plaintiffs believe that there are likely tens of thousands of individuals who are members

of the Class. The exact number of Class members and their identities are known by Defendants or

are readily ascertainable in Defendants’ records.

        92.     Typicality. Plaintiffs’ claims are typical of the claims of the members of the Class.

Plaintiffs’ claims are based on the same facts and legal theories as each of the members of the Class.

Plaintiffs and all Class members were charged interest rates on online payday loans obtained through

the Clarity Finance website that exceeded the lawful interest rate caps in their states of residence.




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Plaintiffs and all members of the Class were damaged by the same wrongful conduct of Defendants

in connection with the operation of the above-described online lending scheme.

        93.       Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class. The

interests of Plaintiffs are coincident with, and not antagonistic to, those of the other members of the

Class. Plaintiffs have retained counsel that are competent and experienced in the prosecution of

complex class action litigation and have experience with class action litigation involving tribal

lending schemes. Plaintiffs’ counsel will undertake to vigorously protect the interests of the Class.

        94.       Commonality & Predominance. Questions of law and fact are common to the
members of the Class and predominate over any questions that may affect only individual Class

members. The claims of all Class members originate from the same misconduct and violations of

law perpetrated by Defendants. The common questions include, but are not limited to:

        a. Whether the PTL Lending Organization (defined below) is an enterprise under 18 U.S.C.

              § 1961(4);

        b. Whether the Soaren Defendants engaged and/or are engaging in the collection of

              unlawful debt in violation of 18 U.S.C. § 1962(c);

        c. Whether Defendant FactorTrust conspired with the PTL Payday Lending Organization

              in violation of 18 U.S.C. § 1962(d);

        d. Whether the Soaren Defendants and the unknown entities who are attempting to collect

              these illegal loans are violating the Fair Debt Collect Practices Act, 15 U.S.C. §§ 1692d,

              1692e, 1692f, & 1692g.

        e. Whether the purported arbitration agreement in Plaintiffs’ and the Class’ loan

              agreements is void and/or unenforceable; and

        f. Whether Defendants are liable to Plaintiffs and members of the Class for damages or

              other relief.

        95.       Superiority. Under Rule 23(b)(3), class action treatment is a superior method for the

fair and efficient adjudication of the controversy. Such treatment will permit a large number of

similarly situated persons to prosecute their common, small-dollar claims in a single forum


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simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or expense

that numerous individual actions would entail. The benefits of proceeding through the class

mechanism, including providing injured persons with a method for obtaining redress on claims that

could not practicably be pursued individually, substantially outweighs potential difficulties in

management of this class action.

        96.      This action is also maintainable as a class action under Rule 23(b)(2) because

Defendants have acted on grounds generally applicable to the Class, thereby making appropriate

final injunctive, declaratory, or other appropriate equitable relief with respect to the Class as a whole.
        97.      With respect to Rule 23(b)(1)(B), the prosecution of separate actions by each Class

member would create a risk of adjudications with respect to individual members of the Class that

would, as a practical matter, be dispositive of the interests of the other members not parties to the

actions, or substantially impair or impede their ability to protect their interests. Class action status is

also warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the members of

the Class would create a risk of establishing incompatible standards of conduct for Defendants.

        98.      Plaintiffs know of no special difficulty to be encountered in the maintenance of this

action that would preclude its maintenance as a class action.

VI.     CLAIMS FOR RELIEF

                                          COUNT ONE
                     RICO, 18 U.S.C. § 1962(c) – Collection of Unlawful Debt
                   (Against Defendants Soaren, Kraken, Dunn and Bickerstaff)
        99.      Plaintiffs reassert and incorporate by reference each of the preceding paragraphs as if

set forth fully herein.

        100.     At all relevant times, Defendants Soaren Management, Kraken Holdings, Dunn and

Bickerstaff were members and associates of an internet lending enterprise (the “PTL Lending

Organization”), whose members and associates engaged in the collection of unlawful debt.

        101.     The PTL Lending Organization, including its leadership, membership, and

associates, constitutes an “enterprise” as that term is defined in 18 U.S.C. § 1961(4) - that is, a group



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of individuals and entities associated in fact. This association in fact shared a common purpose (the

direction and management of the Clarity Finance lending business); relationships among those

associated (Soaren being the entity running the business in its capacity as a purported “servicer”

hired by the nominal lender and, itself, in these activities being managed by Kraken, Dunn and

Bickerstaff); and a longevity sufficient to originate and collect thousands of illicit loans. Other

unnamed participants in the association in fact include Pine Tree Lending LLC and the

Passamaquoddy Tribe that “rented” its name to the enterprise in return for a share of the revenues

generated, and other, as yet unknown John Doe entities that have been involved in the described
debt collection activities.

        102.    The enterprise has been engaged in, and its activities affected, interstate commerce.

The PTL Lending Organization has leadership based in Arizona and operates throughout the United

States, including the Eastern District of Pennsylvania.

        103.    The PTL Lending Organization constitutes an ongoing organization whose members

function as a continuing unit for a common purpose of achieving the objectives of the enterprise.

        104.    The PTL Lending Organization is led, controlled, and/or managed by Defendants

Soaren, Kraken, Dunn and Bickerstaff and the purpose of the said enterprise was and continues to

be the enrichment of the said Defendants through the collection of unlawful debt.

        105.    RICO defines an “unlawful debt” as debt incurred in connection with “the business

of lending money or a thing of value at a usurious rate under State or Federal law, where the

usurious rate is at least twice the enforceable rate.” 18 U.S.C. § 1961(6).

        106.    The means and methods by which the Defendants conducted and participated in the

conduct of the affairs of the PTL Lending Organization was the operation, direction, and control of

a business of lending money at usurious rates more than two times the legal limit in Pennsylvania

and the other forty-six jurisdictions listed in Paragraph 25, above.

        107.    The said Defendants have violated RICO through the “collection of unlawful debt,”

as that term is defined in RICO, 18 U.S.C. § 1962(c), from consumers throughout the United States,




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        108.     As a result of the unlawful collection of illegal debt, Plaintiffs Dearry and Green and

members of the Class have been injured in their property through the payments made to the

Defendants.

        109.     As a direct and proximate cause of the Defendants’ violations of RICO, they are

jointly and severally liable to Plaintiffs and the putative members of the Class for their actual

damages, treble damages, costs, and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

                                          COUNT TWO
                        RICO, 18 U.S.C. § 1962(c) – Interstate Wire Fraud
                   (Against Defendants Soaren, Kraken, Dunn and Bickerstaff)
        110.     Plaintiffs reassert and incorporate by reference each of the preceding paragraphs as if

set forth fully herein.

        111.     The PTL Lending Organization described above has been engaged in activities

which affect interstate commerce, more specifically, in collection activity directed against consumers

throughout the United States who entered into loan transactions over the Clarity Finance website.

        112.     The Defendants have participated in the conduct of the affairs of that enterprise

through a “pattern of racketeering activity,” as that phrase is defined in 18 U.S.C. § 1961(5).

        113.     The collection activity described above constituted the execution of a scheme and

artifice to obtain revenues by means of fraudulent pretenses and representations through the use of

the interstate wire network, in violation of 18 U.S.C. § 1343. Defendants’ use of the telephone wire

network formed a central feature of the scheme and included, by way of example and as described

above, a system of repetitive robocalls, sent from disguised numbers and directed to consumers such

as Plaintiff Green, who had taken out and not repaid the “Clarity Finance” loans arranged by

Defendants. In addition, Defendants had consumers such as Plaintiff Green use the ACH wire

system to send payments to them.

        114.     The conduct described above constituted multiple violations of 18 U.S.C. § 1343,

which is a predicate offense for purposes of 18 U.S.C. § 1962(c).




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        115.     The unlawful conduct by the Defendants alleged above, conducted through the PTL

Lending Organization, injured numerous victims, was continuous and open ended and was intended

to continue, and indeed, it does continue today.

        116.     Plaintiffs and the members of the class were the intended targets of the scheme that

was facilitated by the knowing and purposeful involvement of the RICO Defendants. The financial

harms suffered by plaintiffs and members of the class were the direct result of said conduct and

were the intended and reasonably foreseeable consequence of such conduct.

        117.     Pursuant to 18 U.S.C. § 1964(c), Plaintiffs and the members of the class are entitled
to threefold the damages they sustained, together with reasonable attorney’s fees and costs.

                                        COUNT THREE
                           RICO, 18 U.S.C. 1962(d) – RICO Conspiracy
                                   (Against ALL Defendants)
        118.     Plaintiffs reassert and incorporate by reference each of the preceding paragraphs as if

set forth fully herein.

        119.     Besides the PTL Lending Organization described above, Pine Tree Lending LLC,

doing business as Clarity Finance, was also an “enterprise,” as defined in 18 U.S.C. § 1961(4). The

conduct of the Soaren Defendants, with knowledge, agreeing to support and assist, and in fact,

supporting and assisting the illegal loan business described above, violated 18 U.S.C. § 1962(d).

        120.     Defendant FactorTrust, with knowledge that the PTL Lending Organization made

and collected unlawful debts, purposely and knowingly agreed to assist and facilitate this unlawful

activity by providing consumer credit reports to the Enterprise, which reports were essential to the

loan decisioning process. Defendant FactorTrust knew or should have known that credit requests

made by Soaren Management were for the purposes of making usurious payday loans in states such

as Pennsylvania where such loans were illegal. These acts of Defendant FactorTrust were

purposefully and knowingly directed at facilitating a criminal pattern of racketeering activity, in

violation of 18 U.S.C. § 1962(d).




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        121.     Defendants John Doe Debt Buyers and/or Debt Collectors, with knowledge that the

PTL Lending Enterprise made and collected unlawful debts, purposely and knowingly agreed to

assist and facilitate this unlawful activity by acquiring usurious debt created by the Enterprise.

Pursuant to such agreements, Defendants have paid large sums of money to the Enterprise in

exchange for these assets and have collected or attempted to collect these illegal debts from

Plaintiffs and the Class, in violation of 18 U.S.C. § 1962(d).

        122.     As a result of this violation of RICO, Defendants are jointly and severally liable to

Plaintiff and the putative members of the Class for all the damages caused by the PTL Lending
Enterprise, including hundreds of millions of dollars in illegal interest paid, treble damages, costs,

and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

                                            COUNT FOUR
                                       FDCPA, 15 U.S.C. §1692k
                          (Against Soaren Defendants and John Doe Entities)
        123.     Plaintiffs reassert and incorporate by reference each of the preceding paragraphs as if

set forth fully herein.

        124.     The consumer debt created by the above-described lending enterprise is “debt”

within the meaning of the Fair Debt Collections Practices Act (“FDCPA”), 15 U.S.C. § 1692a(5).

        125.     Under the FDCPA, the term "debt collector" means any person who uses any

instrumentality of interstate commerce or the mails in any business the principal purpose of which is

the collection of any debts, or who regularly collects or attempts to collect, directly or indirectly,

debts owed or due or asserted to be owed or due another. 15 U.S.C. § 1692a(6).

        126.     Whoever it is that has been robocalling Plaintiff Green and similarly situated class

members—whether the named Soaren Defendants or a third party John Doe that is deliberately

hiding its identity— is a “debt collector.”

        127.     During the year preceding the commencement of this action, the Defendants and/or

said John Doe have engaged in multiple violations of the FDCPA, including the following:




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                 a.       Defendants violate 15 U.S.C. §1692e(2)(A) by misrepresenting the character,

            amount, and legal status of the debt;

                 b.       Defendants violate 15 U.S.C. §1692e(14) by using a business, company, or

            organization name other than the true name of the debt collector's business, company,

            or organization;

                 c.       Defendants violate 15 U.S.C. § 1692f(1) by collecting or attempting to collect

            amounts clearly not owing under state law;

                 d.       Defendants violate 15 U.S.C. § 1692d(5) by causing a telephone to ring or
            engaging any person in telephone conversation repeatedly or continuously with intent to

            annoy, abuse, or harass any person at the called number.

                 e.       Defendants violate 15 U.S.C. § 1692d(6) by placing telephone calls without

            meaningful disclosure of the caller’s identity.

                 f.       Defendants violate 15 U.S.C. § 1692g by systematically failing to provide the

            validation notice required by that section, which failure adds to the unfair and deceptive

            nature of Defendants’ communications.

        128.     Plaintiff Green and the members of the class suffered actual damages from these

violations, namely the amounts they paid to Defendants.

        129.     Pursuant to 15 U.S.C. § 1692k, Plaintiff and the class members are entitled to actual

damages, and reasonable attorney’s fees and costs.
                                            COUNT FIVE
                                         Unjust Enrichment
                                      (Against ALL Defendants)
        130.     Plaintiffs reassert and incorporate by reference each of the preceding paragraphs as if

set forth fully herein.

        131.     Defendants have been unjustly enriched by their continued possession of funds

illegally taken from Plaintiffs and members of the Class who were experiencing financial difficulties

and taken advantage of through the Pine Tree Lending online payday lending scheme.




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        132.    In equity and good conscience, those funds collected in excess of the legal rate of

interest permitted by Class members’ home states should be returned to the people victimized by

Defendants’ unlawful scheme.

                                          PRAYER FOR RELIEF
        WHEREFORE, Plaintiffs, individually and on behalf of the Class, respectfully seek the

following relief:

        A. Certification of this action as a class action and appointing Plaintiffs and their counsel

            (listed below) to represent the Class;

        B. A finding that the Defendants have violated § 1962(c) of RICO through the collection of

            unlawful debt;

        C. A finding that the Defendants have violated § 1962(c) of RICO through a pattern of

            wire fraud

        D. A finding that Defendants have violated § 1962(d) of RICO through their conspiracy to

            facilitate the collection of unlawful debt and/or the pattern of wire fraud;

        E. A finding that Defendants have violated 15 U.S.C. §§ 1692d-1692g through their illegal

            debt collection conduct;

        F. A finding that Defendants have been unjustly enriched through their participation the

            describe scheme;

        G. Treble damages under 18 U.S.C. § 1964.

        H. Actual damages under 15 U.S.C. § 1692k and under the common law;

        I. An order awarding attorneys’ fees and costs; and

        J. An award of any such other and further relief that the Court deems just and proper.

                                                JURY DEMAND
        Plaintiffs demand trial by jury of all issues so triable.




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                                    Respectfully submitted,

Dated: June 4, 2021                 /s/ Irv Ackelsberg
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